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      EXHIBIT B – PLAINTIFFS’ COUNSEL SUPPORTING APPOINTMENT OF
                 WILLIAM H. MURPHY III AS LEAD COUNSEL

       The following counsel, who have filed cases in this MDL as detailed below, support
William H. Murhpy’s appointment as lead counsel:

          Firm Name & Address              Counsel                  Case Information
1.    GIBBS LAW GROUP LLP              Eric H. Gibbs      Patricia King v. Facebook, Inc., et
      GIRARD GIBBS LLP                                    al. 3:18-cv-02276-VC
      505 14th Street, Suite 1110
      Oakland, CA 94612
      T: (510) 350-9710
2.    LIEFF CABRASER HEIMANN &         Michael W.         Theresa Beiner v. Facebook, Inc., et
      BERNSTEIN, LLP                   Sobol              al. 3:18-cv-01953-VC
      275 Battery Street, 29th Floor
      San Francisco, CA 94111-
      3339
      T: 415.956.1000
      F: 415.956.1008
3.    SAUL EWING ARNSTEIN &            April F. Doss      Elaine Pelc v. Facebook, Inc., et al.
      LEHR LLP                                            3:18-cv-02948-VC
      500 E. Pratt Street, Suite 800
      Baltimore, MD 21202-3133
      T: 410.332.8798
      F: 410.332.8178
4.    GOLDSTEIN, BORGEN,               Linda M.           Elaine Pelc v. Facebook, Inc., et al.
      DARDARIAN & HO                   Dardarian          3:18-cv-02948-VC
      300 Lakeside Drive
      Suite 1000
      Oakland, CA 94612
      T: (510) 763-9800
      F: (510) 835-1417
5.    STUEVE SIEGEL HANSON LLP         Norman E.          Howard O’Kelly v. Facebook, Inc.,
      460 Nichols Road, Suite 200      Siegel             et al. 3:18-cv-01915-VC
      Kansas City, MO 64112
      T: 816-714-7112
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